Case 14-31229-sgj15 Doc 195-6 Filed 07/02/19 Entered 07/02/19 13:36:51                             Desc
                  Exhibit F. MTGOX Sale Contract Page 1 of 3



AGREEMENT AND PLAN OF ACQUISITION

This AGREEMENT AND PLAN OF ACQUISITION (this “Agreement”), dated as of February 3, 2011, is
entered into by and among Jed McCaleb, address of 509 E Branch Rd Patterson NY, USA (“Seller”), and
K.K. Tibanne a Japanese Company with offices at 24-30, Kugayama 5-Chome, Suginami-ku, Tokyo 168-
0082, Japan (“Buyer”).



DEFINITIONS

Defined Terms. As used herein, the terms below shall have the following meanings. Any of such terms,
unless the context otherwise requires, may be used in the singular or plural, depending upon the
reference.

“Bitcoin” means a virtual digital store of value as defined by bitcoin.org

“Revenue” means any income minus any expense accrued from purchasing bitcoins for the purpose of
immediate resale.

“MTGOX ” means the mtgox.com business. This includes the mtgox.com domain name, the source code
and database for the website, all the assets and liabilities of the website, the sum of the deposits in
currency and bitcoins held for users of the website, and anything else that would reasonably be
considered part of the mtgox.com business.
This term also applies to any website or business that uses any part of the existing mtgox.com business.
For example if the domain name is changed and the code re-written but the user accounts remain this
new site will still be considered “MTGOX” for the purposes of this agreement.

“New Gox” means a corporation or entity formed by the Buyer under conditions defined by this
agreement, that is capable of issuing shares.

“Current Net Funds” means the sum of currency and bitcoin deposits held by MTGOX for users minus US
$50,000 (fifty thousand United States dollars). These sums are calculated at the time the buyer starts to
run the live mtgox.com database.



TERMS

Seller agrees to transfer MTGOX to the Buyer according to the transfer terms below.

The Seller represents being the sole owner of MTGOX and having the sole authority to sell MTGOX within
the terms defined by this contract.



Buyer agrees to:



                                                                                          EXHIBIT F
Case 14-31229-sgj15 Doc 195-6 Filed 07/02/19 Entered 07/02/19 13:36:51                               Desc
                  Exhibit F. MTGOX Sale Contract Page 2 of 3



    -   To the best of its ability ensure that MTGOX is operated in compliance with any and all applicable
        laws of any country or territory it does business in.

    -   Form New Gox within six months or before MTGOX reaches US $140,000 (one hundred fourty
        thousand United States dollars) in revenue.

    -   New Gox will acquire all of MTGOX, and will not charge the Seller any transaction fees. The Seller
        shall own 12% of New Gox at its formation.

    -   Not charge Seller transaction fees on MTGOX or New Gox.

    -   Pay Seller an “earn out” for an “earn out period”.
        The earn out is defined as 50% of the revenue generated by MTGOX or New Gox. The earn out is
        paid on a monthly basis due 7 (seven) days after the end of each month.
        The earn out period lasts for a minimum of the first 6 months after this agreement. If after 6
        months the earn out is less than US $60,000 (sixty thousand United States dollars) the earn out
        will continue until it has reached US $60,000 (sixty thousand United States dollars) in total.

    -   Allow Seller read only access to the Database used by MTGOX for auditing purposes until the
        earn out period is over.

    -   Pay any fees associated with the execution of this agreement such as domain transfer.



TRANSFER

All the elements of MTGOX will be transferred to the Buyer within 15 (fifteen) days after this agreement
has been signed, with the exception of the Current Net Funds held by MTGOX. These will be transferred
according to the following schedule:

33% of Current Net Funds within 15 (fifteen) days.
50% of Current Net Funds within 45 (fourty five) days.
75% of Current Net Funds within 75 (seventy five) days.
100% of Current Net Funds within 105 (one hundred and five) days.

If for some reason the net funds available at a given time on MTGOX are not enough to answer the
needs of the service users, the buyer may require the seller to release more funds earlier for the only
purpose of avoiding any service interruption.

Seller retains no control of MTGOX or New Gox after mtgox.com is transferred to the Buyer.



NO REPRESENTATION
Case 14-31229-sgj15 Doc 195-6 Filed 07/02/19 Entered 07/02/19 13:36:51   Desc
                  Exhibit F. MTGOX Sale Contract Page 3 of 3
